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       ORDERED in the Southern District of Florida on May 24, 2022.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court

                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                         www.flsb.uscourts.gov

       In re:
                                                                                           Chapter 13
                                                                             Case No.: 22-11375-RAM
       Jenny Devereaux,
       ,
             Debtor.
       __________________________/

                          ORDER GRANTING SN SERVICING
                   CORPORATION, AS SERVICER FOR U.S. BANK TRUST
              NATIONAL ASSOCIATION AS TRUSTEE OF THE TIKI SERIES III
         TRUST’S MOTION FOR PROSPECTIVE RELIEF FROM THE AUTOMATIC STAY

                THIS MATTER came before the Court on May 17, 2022 at 9:00 a.m., upon the Motion

       for Prospective Relief From the Automatic Stay [D.E. #23] (the “Motion”) filed by SN Servicing

       Corporation, as Servicer for U.S. Bank Trust National Association as Trustee of the Tiki Series

       III Trust (“Secured Creditor”). For the reasons stated orally on the record that shall constitute

       the decision of the Court, it is

                ORDERED, as follows:

                1.     The Motion is GRANTED, as set forth herein.
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       2.       Secured Creditor or its successors or assignees of interest in the Property shall

have two (2) year prospective relief from the automatic stay arising by reason of 11 U.S.C. § 362

of the Bankruptcy Code as to the real property described as 720 N. Shore Drive, Miami Beach,

Florida 33141 (the “Property”) and with legal description as follows:

       LOT 20 AND THE WEST 5 FEET OF LOT 21, BLOCK 63, OF
       NORMANDY GOLF COURSE SUBDIVISION, ACCORDING TO THE
       PLAT THEREOF, AS RECORDED IN PLAT BOOK 44, PAGE 62 OF THE
       PUBLIC RECORDS OF MIAMI-DADE COUNTY, FLORIDA.



       3.       This Order shall be binding in any other bankruptcy case filed within two (2)

years from the entry of this Order by any person or entity purporting to claim any interest in or

otherwise affect the Property.

       4.       In the event that any bankruptcy case is filed by any person or entity claiming an

interest in the Property within the two (2) year period following this Order, the automatic stay

arising from 11 U.S.C. 362(a) shall not apply to Secured Creditor’s or its successors’ or

assignees’ interest in the Property.

       5.       The Court shall retain jurisdiction over this matter to consider and enter such

further relief necessary to enforce the terms and conditions of this Order.

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Submitted by:

Melbalynn Fisher, Esq.
Florida Bar No. 107698
mfisher@ghidottiberger.com
GHIDOTTI BERGER, LLP
1031 North Miami Beach Blvd.
North Miami Beach, FL 33162
Telephone: (305) 501.2808
Facsimile: (954) 780.5578




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Attorney Melbalynn Fisher, Esq. is directed to serve a copy of this order on interest parties who
do not receive service by CN/ECF and file a proof of service within three days of entry of this
order.




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